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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
         V.                                  :       CASE NO. 23-CR-113 (TNM)
                                             :
BENJAMIN COLE                                :
                                             :
         DEFENDANT.                          :


    JOINT MOTION TO SCHEDULE ARRAIGNMENT AND PLEA HEARING AND
              EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT


         The United States, through undersigned counsel, and Benjamin Cole, through his

undersigned counsel, hereby file this joint motion to schedule an arraignment and plea hearing

on May 30, 2023, and to exclude time under the Speedy Trial Act for the reasons discussed

below.

         A criminal complaint was filed on August 16, 2022, in case number 1:22-MJ-184-1,

charging the defendant with Civil Disorder, in violation of 18 U.S.C. § 231(a)(3), Entering and

Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1), and

Disorderly or Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C.

§ 1752(a)(2). The defendant made an initial appearance in this District on August 30, 2022.

Consent motions to vacate status hearing and exclude time were filed and granted. 1:22-MJ-184-

1, ECF Nos. 48, 54, 60, 65, and 70. Time under the Speedy Trial Act is currently excluded

through April 13, 2023, the date of the next status hearing before the Magistrate Judge.
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       On April 5, 2023, the United States filed an Information charging the defendant with a

single count, namely, Civil Disorder, in violation of 18 U.S.C. § 231(a)(3). ECF No. 71. The

parties conferred to select a mutually convenient date for arraignment and anticipated change of

plea hearing. Government counsel has trial beginning on April 17, 2023 in United States v.

Donnie Wren et al., 21-cr-599 (RBW) that is expected to last five business days. Additionally,

government counsel is scheduled to be out of the country on official travel May 8-12, 2023.

Defense counsel is unavailable due to numerous previously scheduled court appearances, in

several Courts throughout the Western District of Kentucky, where she practices, and due to the

need to account for travel time to and from the District of Columbia.

       The parties request that the Court schedule the arraignment and plea hearing on May 30,

2023, at 10:30 a.m. and exclude the time from April 13, 2023, pursuant to 18 U.S.C. § 3161 et

seq., on the basis that the ends of justice served by taking such actions outweigh the best interest

of the public and the defendant in a speedy trial pursuant to the factors described in 18 U.S.C.

§ 3161(h)(7)(A).

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY
                                                    D.C. Bar No. 481052

Date: April 6, 2023                             By: /s/ Melanie L. Alsworth__________
                                                   Melanie L. Alsworth
                                                   Ark. Bar No. 2002095
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Date: April 6, 2023                   By: /s/ Angela M. Rea__________
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